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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHARLES E. JORDAN,                         )
                                           )
                        Plaintiff,         )     Civil Action No. __________
v.                                         )
                                           )
GUARANTEED AUTO, INC.,                     )
                                           )
                        Defendant.         )

                                   COMPLAINT

                               INTRODUCTION
      1.    CHARLES E. JORDAN, Plaintiff, brings this action for actual

damages, emotional damages, statutory damages, and attorney’s fees and costs

against Defendant, GUARANTEED AUTO, INC., for deceptively charging

interest rates above 92.87%; violating the Truth in Lending Act (“TILA”); the

Georgia Motor Vehicle Sales Finance Act (“MVSFA”); and the Georgia Fair

Business Practices Act (“FBPA”).


                          JURISDICTION & VENUE


      2.    This Court has jurisdiction over Plaintiff’s TILA claim under 15

U.S.C. § 1640(e), and 28 U.S.C. §§ 1331 and 1337, and his state law claims under

28 U.S.C. § 1367.
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       3.     Venue is appropriate in the Northern District of Georgia because the

defendant resides within the judicial district, and a substantial part of the events

giving rise to the claim occurred within the district. See 28 U.S.C. § 1391(b)(1)-

(2).

                                     PARTIES


       4.     Plaintiff CHARLES E. JORDAN is a resident of Georgia, in the City

of Rex.

       5.     Defendant GUARANTEED AUTO, INC. is a Georgia corporation

doing business in Fulton County, Georgia, which includes the City of Atlanta.

Defendant may be served with process through its registered agent, Nick Hart, at

7295 Roswell Rd., Atlanta, Georgia 30328.

       6.     At all relevant times hereto, Defendant regularly extended or offered

to extend consumer credit for which a finance charge is or may be imposed or

which, by written agreement, is payable in more than four installments, and is the

person to whom the transaction which is the subject of this action is initially

payable, making Defendant a creditor within the meaning of TILA, 15 U.S.C.

§ 1602(f) and Regulation Z § 226.2(a)(17).


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                                        FACTS


      7.    On or around November 11, 2012, Mr. Jordan entered into a retail

installment contract for the purchase of a 2004 GMC Yukon XL (the “Vehicle”)

with Defendant. Mr. Nick Hart negotiated the transaction with Mr. Jordan (the

“Transaction”).

      8.    In the process of negotiating the Transaction, Mr. Hart assured Mr.

Jordan the car had passed the required emissions testing.

      9.    Mr. Jordan relied on Mr. Hart’s assurances when deciding to

consummate the Transaction.

      10.   The amount financed of the Vehicle was calculated in the contract as

follows:

                  Cash Price                          $8,884.93
                  Sales Fee                               499.00
                  Title Fee                                38.00
                  Unidentified Charge                   3,350.00
                  Total down payment                    - 1,0000
                  Trade-In                            - 3,500.00
                  Total                               $8,271.93

(See Retail Installment Contract, attached hereto as “Exhibit A.”)




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      11.      The Sales Fee in the preceding paragraph is described in more detail

in the Bill of Sale. According to that document, the sales fee “represents costs and

profit to the dealer…” (Bill of Sale, attached hereto as “Exhibit B.”) (emphasis

added).

      12.      Towards the cash price, Mr. Jordan made an initial down payment of

$1,000.00.

      13.      In addition, Mr. Jordan traded in his 2001 Dodge Ram 1500, which

was fully functioning at the time of the transaction. Upon information and belief,

the fair market value for the Dodge Ram was $6,995.00. However, Defendant

credited Mr. Jordan $3,500.00 for the trade-in.

      14.      Mr. Jordan was scheduled to make 66 bi-weekly payments of $175.00

beginning November 25, 2012, with an additional last payment of $72.55 on June

7, 2015.

      15.      The parties’ contract also contained the following TILA disclosures:

                     APR                             28.00%
                     Finance Charge                $3,350.62
                     Amount Financed               $8,271.93
                     Total of Payments            $11,622.55
                     Total Sales Price            $16,122.55
(Exhibit A.)

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      16.    One day after signing the contract, Mr. Jordan noticed the itemization

of the amount financed included an unidentified fee for $3,350.00.

      17.    Mr. Jordan returned to the car dealership and demanded the fee be

removed. The dealership refused, stating it was the “finance charge.”

      18.    Because the parties understood that Mr. Jordan hoped to pay off the

balance once he received his tax refund, Mr. Hart promised to refund $2,400.00 of

the “finance charge” when Mr. Jordan paid off the contract. Mr. Hart indicated this

promise on the parties’ documents. (See Bill of Sale, Exhibit B.)

      19.    After purchasing the Vehicle, Mr. Jordan tried to register it with the

Georgia Department of Revenue. However, his registration was denied because

the Vehicle did not have a valid emissions certificate.

      20.    Mr. Jordan made two payments on the Transaction. Mr. Jordan’s

third installment was due on December 23, 2012.

      21.    Mr. Jordan discovered he would not receive his paycheck until after

Christmas, so he called the Defendant to tell them he could not pay until December

27, 2013. Defendant orally agreed to extend the payment deadline accordingly.

However, on December 26, 2012, Defendant repossessed Mr. Jordan’s car.

      22.    Mr. Jordan received no notice of repossession containing a notice of
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his right to redeem or his right to a public sale.

      23.      Mr. Jordan received no notice of disposition prior to Defendant selling

the car.

                           COUNT ONE: 15 U.S.C. § 1640
                            TRUTH IN LENDING ACT

      24.      Plaintiff incorporates by reference paragraphs 1 – 7, 10 – 17 of this

Complaint as if fully restated herein.

      25.      The Transaction is covered by TILA, codified at 15 U.S.C. § 1601 et

seq. See 12 C.F.R. 226.1(c)(1). Specifically, Defendant offered or extended credit

to consumers, such offering or extension of credit is done regularly by Defendant,

this credit transaction is subject to a finance charge or is payable by a written

agreement in more than four installments, and the credit extended was primarily

for personal, family, or household purposes.

      26.      TILA, under its accompanying Regulation Z, defines “finance charge”

as “the cost of consumer credit as a dollar amount. It includes any charge payable

directly or indirectly by the consumer and imposed directly or indirectly by the

creditor as an incident to or a condition of the extension of credit.” 12 C.F.R. §

226.4(a). See also 15 U.S.C. § 1605(a).

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      27.   The disclosure statement issued with this consumer credit transaction

violated the requirements of TILA and Regulation Z in at least the following

respects:

            A.     The TILA “amount financed” was overstated by $3,849.00.

      Included in the “amount financed,” disclosed for TILA purposes, was a

      $499.00 charge that included “profits to the dealership.” The second charge

      is an unidentified charge of $3,350.00, which Defendant’s agent described as

      a finance charge to Plaintiff. Because both of these fees increased the cost to

      Plaintiff of obtaining credit, the fees should have been included in the TILA

      “finance charge,” rather than in the TILA “amount financed.” Thus, the true

      “amount financed” in the Transaction was $4,422.93, not the disclosed

      $8,271.93.

            B.     For reasons shown in subparagraph (A) above, the TILA

      “finance charge” was understated by $3,849.00.        Thus, the true “finance

      charge” in the Transaction was $7,199.62, not the disclosed $3,350.62.

            C.     For reasons shown in subparagraphs (A) and (B) above, the

      TILA “APR” disclosure was understated by nearly 6,500 basis points. The

      true APR in the Transaction was 92.87%, not the disclosed 28.00%.
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      28.      Mr. Jordan would not have entered the contract with Defendant if the

92.87% APR had been properly disclosed.

      29.      As a result of Defendant’s TILA violations, Plaintiff suffered actual

damages, in an amount to be established at trial.

      30.      Defendant is further liable to Plaintiff for $2,000.00 in statutory

damages, attorney’s fees, and litigation expenses under 15 U.S.C. § 1640.


                     COUNT TWO: O.C.G.A. § 10-1-38(c)
               GEORGIA MOTOR VEHICLE SALES FINANCE ACT


      31.      Plaintiff incorporates by reference paragraphs 1 – 7, 10 – 17, 22 – 23

of this Complaint as if fully restated herein.

      32.      Defendant is engaged in the business of selling motor vehicles to

retail buyers in retail installment transactions, and is thus a “retail installment

seller” under the Motor Vehicle Sales Finance Act (“MVSFA”) at O.C.G.A. § 10-

1-31(a)(10).

      33.      The Transaction resulted in an instrument creating a purchase money

security interest in the Vehicle, thus constituting a “retail installment contract”

under O.C.G.A. § 10-1-31(a)(9).

      34.      The used Vehicle at issue in the Transaction is a covered “motor
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vehicle” as defined by O.C.G.A. § 10-1-31(a)(4).

      35.    For a used car older than four years, the maximum finance charge

allowed under the MVSFA is $17.00 per $100.00 per year (i.e., a rate of 17%),

computed on the “unpaid balance,” as defined by Regulation Z. See O.C.G.A. §

10-1-33. For this action, the “unpaid balance” is the same as the TILA “amount

financed.”

      36.    As shown above in Count One, the true “amount financed” in the

Transaction was $4,422.93. (See Compl. ¶ 20)

      37.    The term of the Transaction is 2.568 years.

      38.    Therefore, the maximum finance charge permitted by the MVSFA for

the Transaction is $1,930.87 (17% maximum rate x $4,422.93 amount financed x

2.568 years = $1,930.87).

      39.    Defendant imposed a true finance charge of $7,199.62 in the

Transaction, thereby exceeding the MVSFA maximum by $5,268.75.

      40.    Mr. Jordan did not agree to a finance charge of $7,199.62.

      41.    Defendant willfully imposed the excessive charge under a general

policy that affected not only Mr. Jordan, but other customers purchasing

automobiles on credit.
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         42.   The total amount of the time price differential imposed in the

Transaction is $7,199.62.

         43.   Defendant also failed to comply with the MVSFA deficiency notice

provision at O.C.G.A. § 10-1-36 by failing to send the required notice via

registered or certified mail or statutory overnight delivery within ten days of

repossession, advising Plaintiff of his right of redemption and his right to demand a

public sale.

         44.   Mr. Jordan seeks a declaratory judgment that as a result of imposing

an excessive finance charge in the Transaction, Defendant cannot seek any finance

charge, delinquency charge, or collection charge in connection with the

Transaction per O.C.G.A. § 10-1-38(b).

         45.   Mr. Jordan seeks a declaratory judgment that as a result of

Defendant’s failure to send a deficiency notice in the Transaction, Defendant is

barred from seeking any claim for deficiency against him per O.C.G.A. § 10-1-

36(c).

         46.   Because Defendant’s imposition of an excessive finance charge was

willful, Defendant is liable to Mr. Jordan for twice the time price differential,

which is $14,399.24 ($7,199.62 time price differential x 2 = $14,399.24) per
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O.C.G.A. § 10-1-38(c).


                       COUNT THREE: O.C.G.A. § 11-9-625
                        GEORGIA COMMERCIAL CODE


      47.    Plaintiff incorporates by reference paragraphs 1 – 7, 20 – 23 of this

Complaint as if fully restated herein.

      48.    After a default on a secured debt, the creditor must issue a notice of

intended disposition of the collateral, which is required to contain certain

statements regarding the borrower’s rights. See O.C.G.A. §§ 11-9-611 & 11-9-

613-614.

      49.    A creditor’s noncompliance with these notice requirements entitles the

debtor to actual and statutory damages per O.C.G.A. § 11-9-625.

      50.    Defendant failed to send Plaintiff any notice of the sale of the

repossessed Vehicle.

      51.    Mr. Jordan suffered actual damages as a result of Defendant’s failure

to comply with the notice requirements of the Georgia Commercial Code.

      52.    As a result of Defendant’s failure to comply with the Georgia

Commercial Code, Plaintiff seeks actual damages in an amount to be determined at

trial, as well as statutory damages under O.C.G.A. § 11-9-625 in an amount not
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less than the time price differential in the Transaction, $7,199.62, plus 10% of the

cash price of the Vehicle, $888.49 ($8,884.93 cash price x 10%).


                     COUNT FOUR: O.C.G.A. § 10-1-399
                  GEORGIA FAIR BUSINESS PRACTICES ACT


      53.    Plaintiff incorporates by reference paragraphs 1 – 21, and 31 – 46 of

this Complaint as if fully restated herein.

      54.    Defendant’s actions were made in the consumer marketplace, i.e. the

actions have or have had a potential for harm to the general consuming public.

      55.    In its conduct with Mr. Jordan, Defendant committed multiple

violations of the Fair Business Practices Act (“FBPA”). Specifically, the following

conduct is unfair or deceptive:

             A.     Inducing Mr. Jordan to trade in his vehicle, and enter a new

      retail installment contract by falsely representing to him that his APR would

      be a far lower 28%;

             B.     Charging Mr. Jordan illegal interest rates above 92.87%, and

      thereby violating the MVSFA interest rate cap in O.C.G.A. § 10-1-33;

             C.     Deceiving Mr. Jordan by representing to him that the finance

      charge was only $3,350.00 with a 28% APR, when it was $7,199.63 with an
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      APR over 90%;

             D.    Concealing and/or misrepresenting the Vehicle’s emissions

      certificate status when it sold Mr. Jordan a vehicle that did not have the

      required emissions certificate;

             E.    Selling Mr. Jordan a vehicle without a valid emissions

      certificate, in violation of O.C.G.A. § 12-9-54;

             F.    Promising to extend the deadline for Mr. Jordan’s payment due

      December 23, 2012 in order to induce action on Mr. Jordan’s part, but

      without intending to honor the promise.

      56.    Plaintiff relied on the disclosed 28% APR when deciding to

consummate the credit transaction with Defendant.

      57.    Plaintiff relied on Defendant’s compliance with Georgia law when

deciding to trade in his car and purchase the Vehicle.

      58.    Plaintiff relied on Defendant’s misrepresentations about the emissions

certificate when he decided to trade-in his car and purchase the Vehicle.

      59.    Plaintiff relied on Defendant’s misrepresentations about the payment

deadline extension when he did not seek alternate ways to meet the December 23,

2012 payment deadline.
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      60.    The above FBPA violations were intentional. Defendant knew (a)

about the finance charges it placed on the Transaction, (b) about the status of the

Vehicle’s emissions certificate, and (c) that it did not intend to honor its promise to

extend Mr. Jordan’s payment deadline.

      61.    Defendant’s actions were volitional, and Defendant had culpable

knowledge of the nature of the acts.

      62.    In compliance with O.C.G.A. § 10-1-399(b), on September 20, 2013,

Mr. Jordan, through counsel, sent a written demand for relief to Defendant,

reasonably describing Defendant’s FBPA violations and the injury suffered.

      63.    Defendant did not respond to the above demand in any manner.

      64.    Because of Defendant’s violations of the FBPA, Mr. Jordan is entitled

to actual damages in an amount to be determined at trial.

      65.    Because Defendant’s violations of the FBPA were intentional, Mr.

Jordan is also entitled to three times the actual damages as determined at trial per

O.C.G.A. § 10-1-399(c).

      66.    In addition, Defendant’s actions authorize imposing punitive

damages, under O.C.G.A. §§ 10-1-399(a), 51-12-5.1, in that they show willful

misconduct, malice, fraud, wantonness, oppression, or that entire want of care
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which would raise the presumption of a conscious indifference to consequences,

and Mr. Jordan seeks such damages from Defendant.

      67.   Mr. Jordan is also entitled to reasonable attorney’s fees and

reimbursement of the expenses of litigation under O.C.G.A. § 10-1-399(d).


                             PRAYER FOR RELIEF

      WHEREFORE Plaintiff prays that this Court:

      (a)   Under Count One, award actual damages, statutory damages of
            $2,000, and attorney’s fees and litigation expenses to Plaintiff;

      (b)   Under Count Two, (1) declare that as the result of Defendant’s
            violation of the MVSFA, Defendant cannot seek any finance charge,
            delinquency charge, or collection charge in connection with the
            Transaction, and (2) award statutory damages to Plaintiff for
            $14,399.24;

      (c)   Under Count Three, (1) declare that as the result of Defendant’s
            violation of the Georgia Commercial Code, Defendant cannot seek the
            recovery of any deficiency balance, and (2) award actual damages in
            amounts to be determined at trial, as well as statutory damages of
            $14,399.24;

      (d)   Under Count Four, award to Plaintiff actual damages, treble damages,
            punitive damages, all in amounts to be determined at trial, plus
            attorney’s fees and litigation expenses;

      (e)   Award Plaintiff costs of this action;

      (f)   SET THE MATTER FOR TRIAL BY JURY; and

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(g)   Grant such other relief that is just and proper under the circumstances.




                                       /s/ Jon Erik Heath
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                       CERTIFICATE OF COMPLIANCE

The undersigned counsel certifies that the foregoing has been prepared in Times

New Roman (14 point) font, as approved by the Court in L.R. 5.1.B.


                                            /s/ Jon Erik Heath
                                            J. Erik Heath
                                            Ga. Bar. No. 940564
                                            Attorney for Plaintiff




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